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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

____________________________________
                                    )
UNITED STATES OF AMERICA            )
                                    )
         v.                         )
                                    )                 Case No. 21-CR-105 (APM)
HENRY MUNTZER                       )
                                    )
                  Defendant.        )
____________________________________)

                RESPONSE TO GOVERNMENT’S MOTION FOR
        PROTECTIVE ORDER GOVERNING MATERIALS PROVIDED BY THE
                      GOVERNMENT IN THIS CASE

       Mr. Muntzer, through undersigned counsel, respectfully submits this response to the

Government’s Motion for Protective Order (“Gov’t Mot.”), ECF No. 15.                 For the reasons

discussed below, Mr. Muntzer respectfully requests that the Court deny the government’s motion

because 1) the government has not sufficiently justified the need for a protective order in this case,

and 2) the protective order sought by the government violates Mr. Muntzer right to an adequate

defense, is unduly burdensome for the defense, and prevents defense counsel from discharging his

ethical obligations.

       As the government notes in its motion, Mr. Muntzer has been indicted in this District with

obstruction of an official proceeding, entering and remaining in a restrictive building or grounds,

disorderly and disruptive conduct in a restricted building or grounds, disorderly conduct in a

capitol building, and parading, demonstrating, or picketing in a capitol building.

       A sealed Criminal Complaint filed with the court on January 13, 2021. Mr. Muntzer was

arrested on the Complaint in the state of Montana, where he resides, on January 18, 2021.

       The instant indictment was filed on February 10, 2021. Mr. Muntzer was arraigned on the
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instant indictment on February 19, 2021. In all respects, Mr. Muntzer has been in compliance with

his conditions of release.

       Mr. Muntzer is 52 years old. He is the only named defendant in the indictment. Mr. Muntzer

has no prior convictions; and, prior to this case he has never been arrested. There is no evidence

that Mr. Muntzer is associated with any anti-government militia organizations or other groups that

deny the legitimacy of the United States government. See, Govt. Mot. at 2. Nor is there any

evidence that Mr. Muntzer will not comply with any court order regarding the non-disclosure of

evidence provided by the government pursuant to Rule 16 of the Federal Rules of Criminal

Procedure.

       The government advances only two justifications for the proposed protective order: 1) “[t]o

expedite the flow of discovery materials between the parties,” and 2) to adequately protect “the

United States’ legitimate interests” Gov’t Mot. at 1. Although Mr. Munzter was arraigned more

than two months ago, the government has not provided the defense with any discovery material in

this case until yesterday. To date, the government has not specifically identified which Rule 16

materials in this case it seeks to have covered by the proposed protective order. Instead, the

government cites a non-exhaustive list of “examples” of materials it “may” seek to have covered

by the proposed protective order.

                                                       I

       Federal Rule of Criminal Procedure 16(d)(1) allows the Court to, “for good cause, deny,

restrict, or defer discovery or inspection, or grant other appropriate relief” by entering a protective

order. Protective orders, however, “are the exception, not the rule, and appropriate reasons must

be given for their entry.” United States v. Stone, No. 10-20123, 2012 WL 137746, at *3 (E.D.


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Mich. Jan. 18, 2012). “The party seeking a protective order bears the burden of proving its

necessity and must articulate specific facts showing clearly defined and serious injury resulting

from the discovery sought.” United States v. One Gulfstream G-V Jet Aircraft Displaying Tail

No. VPCES, 304 F.R.D. 10, 12 (D.D.C. 2014) (quotation marks omitted) (quoting Avirgan v. Hull,

118 F.R.D. 252, 254 (D.D.C. 1987)). See also United States v. Smith, 985 F. Supp. 2d 506, 523

(S.D.N.Y. 2013) (“Good cause exists ‘when a party shows that disclosure will result in a clearly

defined, specific and serious injury.’” (quoting In re Terrorist Attacks on September 11, 2001, 454

F. Supp. 2d 220, 222 (S.D.N.Y. 2006))). “A finding of harm must be based on a particular factual

demonstration of potential harm, not on conclusory statements.” Id. (quotation marks and citation

omitted).

       Here, by failing to articulate specific facts that demonstrate an alleged harm that would

occur in the absence of a protective order in this case, the government has provided no justification

to support the issuance of a protective order. Rather, the government attempts to justify its

proposed protective order by making generalized claims about unidentified concerns regarding the

disclosure of undefined “legitimate interests.” The government further fails to identify the potential

harm or injury in this case that needs protection. The Court therefore has no information from

which to conclude that the information the government seeks to have covered by the protective

order would “result in a clearly defined, specific and serious injury” in the absence of a protective

order.” Id.   For these reasons, based on the current record, the government’s request for a

protective order must be denied.

       To be clear, Mr. Muntzer will not oppose a protective order concerning specific materials

if the government is able to adequately show that there is good cause for protecting those specific


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materials. For example, in US v. Caldwell, 21-CR-28 (APM), Document 120, the government

outlined three specific categories of Rule 16 material it sought to have covered by the proposed

protective order: 1) U.S. Capitol surveillance footage; 2) financial records which contained

personal identifying information as well as private financial records; and 3) sealed search warrants

and court orders pursuant to 18 U.S.C. § 2703(d) and the applications and affidavits in support

thereof, and electronic device, e-mail, cloud storage, and social media search warrant returns. Mr.

Muntzer will also not oppose a protective order that governs the use of private personal information

such as social security numbers, dates of birth, bank account numbers, or the names of minors.

See, Rule 49.1 of the Federal Rules of Evidence. In this case, however, the government has made

no such, specific, representations. The Defendant therefore is being asked to agree, sight unseen,

to a restriction on materials he is entitled to receive under Rule 16 without knowing how the

material might affect his ability to prepare an adequate defense to the charged offenses.

       The better course is to have the government turn over all of the material to which the

defense is entitled pursuant to Rule 16 (and the due process clause), and then, if the government

believes specific items should be covered by a protective order, it should then justify to the Court

why that specific item or information should be protected. For example, in United States v. Bulger,

the defendant’s motion to lift an already existing blanket protective order was partially granted

because the court determined that “there is not an adequate showing that all of the documents the

government produced or will produce should remain subject to the terms of the protective order.”

United States v. Bulger, 283 F.R.D. 46, 53 (D. Mass. 2012). As a starting point for determining

what, if any, documents should be subject to a protective order, the court in Bulger directed the

government to identify the specific documents it believed should be subject to a protective order.


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Id. The same process should be used in the instant case.

                                                       II

       When determining whether to issue a protective order, or deciding the proper scope of any

protective order, “the Court should consider how burdensome a protective order” will be on the

defendant. Smith, 985 F. Supp. 2d at 544. See also United States v. Lindh, 198 F.Supp.2d 739,

742 (E.D. Va. 2002) (“[I]n determining whether to accord protection to certain materials, and the

extent of such protection, courts should weigh the impact this might have on a defendant’s due

process right to prepare and present a full defense at trial”).

       The protective order sought by the government in this case prohibits defense counsel from

providing Mr. Muntzer with a copy of certain, as of yet, unidentified material. The protective order

also prohibits Mr. Muntzer from viewing the material without being supervised by defense counsel

or a member of the defense team. Finally, the protective order requires Mr. Muntzer to execute a

“Defendant’s Acceptance” form indicating that he is “fully satisfied with the legal services

provided by my attorney in connection with this Protective Order and all matters relating to it; that

Mr. Muntzer “voluntarily agree(s) to [the Protective Order]; and, that “no threats have been made

to [Mr. Munster], nor [is Mr. Munster] under the influence of anything that could impeded [his]

ability to understand the Protective Order fully.”

       The government has not set forth any legitimate justification for these restrictions in this

case. The government concedes that “the defense” is entitled to this information; however, the

government then seeks to restrict how the defendant can view (or access) the information in

preparing his defense. The government unquestionably has the right to seek an order from the

Court that information provided pursuant to Rule 16 not be disclosed to outside parties, see Rule


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16(d)(1). But, absent some showing that Mr. Muntzer, will not, or is not likely to, comply with a

court order directing that the information not be disclosed to outside parties, the government does

not have a right to dictate how the defense chooses to handle the evidence, or, how Mr. Muntzer

elects to review the evidence.

       Finally, in the event the Court concludes that the proposed protective order in its present

form is appropriate in this case, there is absolutely no justification for having Mr. Munster execute

the proposed “Defendant’s Acceptance” form attached to the government’s proposed order.

Paragraph 4(b) of the proposed protective order states that “[n]o Sensitive or Highly Sensitive

materials, of the information contained therein, may be disclosed to any person other than

Defendant, the legal defense team, or the person to whom the Sensitive or Highly Sensitive

information solely and directly pertains or his/her counsel, without agreement of the United States

or prior authorization from the Court.” And Paragraph 13 states that “Defense counsel must

provide a copy of this Order to, and review the terms of this Order with, members of the defense

team, Defendant, and any other person, before providing them access to Sensitive or Highly

Sensitive materials.” These two provisions of the proposed order adequately ensure that the

materials subject to the proposed protective order will not be disclosed to unauthorized parties.

The “Defendant’s Acceptance” form, however, requires, among other things, that Mr. Muntzer

attest that he is fully satisfied with the legal services provided by counsel “in connection with this

Protective Order and all matters relating to it” and that he “voluntarily agree[s] to [the Protective

Order].”

       Mr. Muntzer will certainly abide by the Court’s ruling in the event the Court accepts the

government’s proposed protective order. That does not mean that he is voluntarily agreeing to the


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protective order. Similarly, in the event the Court accepts the government’s proposed protective

order, over the objections noted in this pleading, there is no reason Mr. Muntzer should have to

attest that he is fully satisfied with counsel’s legal services in connection with the proposed

protective order litigation. The Court, therefore, should not require Mr. Muntzer to execute the

proposed “Defendant’s Acceptance” form.

                                           CONCLUSION

          For the foregoing reasons, Mr. Muntzer respectfully requests that the Court deny the

government’s motion for a protective order in its entirety and compel the government to disclose

all Rule 16 materials in unredacted form as soon as possible.

          Alternatively, if the Court finds that a protective order is warranted, Mr. Muntzer requests

that the Court enter a protective order that takes into account the concerns and arguments presented

herein.

                                                Respectfully submitted,

                                                A. J. KRAMER
                                                FEDERAL PUBLIC DEFENDER

                                                       /s/
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